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                                                                           34
   1    whatever they planned to do, you know, I didn't
   2    see there is any economic loss to the Department,
   3    because it's still going to be within the
   4    containment area that we are not planning to do

        anything with it at this time.
   6           Q.      Or for the next five years?

   7           A.      Or the next five years.
   8           Q.      Or longer than that?
   9           A.      It could be.
  10           Q.      Referring to Paragraph 8 on Page 4, in

  11    the bottom half of that paragraph it says, "In the
  12    event ownership of the premises is transferred

  13    from licensor to another governmental or
  14                            1
        quasi-governmental agency,              including but not

  15    limited to any sovereign government or entity

  16    having as its citizens or beneficiaries Native
  17    Hawaiians who are beneficiaries under the Hawaiian
  18    Homes Commission Act."
  19                   Is there any plan to do that at the

  20    present time?

  21           A.      Well, this provision is added in because

  22    of the potential.           T think it was recommended that

  23    we add something in, just in case the Akaka bill
  24    or any challenges is successful that Hawaiian
  25    Homes will have to -- there is no Hawaiian Homes,


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                               Exhibit "A"                       Exhibit A, p. 001
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                                                                           35
                         I mean, this is what is recommended by
    2    attorney, to include a language like that in our

    3    license document. Were not anticipating giving
    4    up ownership, but there is events that may be
         outside of our control that one day --
    6            Q.      You're saying that if it's determined
    7    t hat Hawaiian Homes is unconstitutional, then

    8    Hawaiian Homes would transfer the land to a native
    9    Hawaiian entity?
   10                    MS. °SHIRO:      Objection.        Privileged.
   11    BY MR. SCHOETTLE:

   12            Q.      This 18 something that's written right

   13    here.        This is not privileged.

   14                    MS. ()SHIRO:     But you're asking her to

   15    speculate as to the --
   16                    MR. SCHOETTLE:        I'm asking her about

   17    this provision.

   18                    MS. °SHIRO:      -- the legal basis of why

   19    that provision was inserted in there.

   20    BY MR. SCHOETTLE:
   21            Q.      You said this was suggested by an

   22    attorney.
   23                    Does that mean Kumu Vasconcellos, the

   24    attorney that approved this document on Page 9?

   25            A.      Yes.


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                                                                  Exhibit A, p. 002
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                                                                           36
    1           Q.     Is this kind of a provision in all of
    2    your licenses and your leases at the present time?
    3           A.     Yes.
    4           Q.     How is the licensee supposed to make

         any money off of this agreement, this license if

    6    they can't graze? Now are they going to make

    7    money?

                A.     I cannot answer that.

    9           Q.     Wouldn't giving them grazing rights give

  10     them some incentive to actually accomplish

  11     some

  12            A.     I   don't know.
  13            Q.     You don't know.          I just don't understand
  14     why the request to graze was denied them.
  15                   MS. °SHIRO:        Asked and answered.
  16                   MR. SCHOETTLE:         Well, T don't understand
  17     the answer.

  18     BY MR. SCHOETTLE:

  19            Q.     Please explain.

  20            A.     I cannot say why it was denied, but it

  21     was removed -- they did make that request.                      But in
  22     consideration of the proposal, the Commission at
  23     that time has said that, Use it as what you wanted

  24     to do as a research and development project.                       But

  25     they did allow the right to come back in later on



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                                                                 Exhibit A, p. 003
